                              Case 10-37371       Doc 783      Filed 08/24/22     Page 1 of 1

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Greenbelt
                                     In re:   Case No.: 10−37371 − TJC       Chapter: 11

KH Funding Company
Debtor


                                              DEFICIENCY NOTICE
DOCUMENT:                  782 − Motion For Return Of Money Filed by Merle A. Kleiber . (Sukeena, Todd)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 9/7/22.
                           ***Failed to file a request for relief in the form of a motion. See Federal Rule of
                           Bankruptcy Procedure 9013 and Local Bankruptcy Rule 9013. ***

CURE:                      ***File an amended pleading that complies with Federal Rule of Bankruptcy Procedure 9013
                           and Local Bankruptcy Rule 9013.***

CONSEQUENCE: Failure to cure the problem by the date above may result in the pleading being stricken or other
             action the Court deems appropriate without further notice. For a proposed order, the failure to
             cure the problem may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 8/24/22
                                                               Mark A. Neal, Clerk of Court
                                                               by Deputy Clerk, Todd Sukeena
                                                               410−962−4072

cc:    Debtor
       Attorney for Debtor − James Edward Van Horn Jr.

defntc (rev. 12/12/2016)
